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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:08CR3082
                                     )
           v.                        )
                                     )
JODENE BURKHART and                  )                   ORDER
KELLI LARSON,                        )
                                     )
                Defendants.          )
                                     )


     IT IS ORDERED:

     Defendant Larson’s motion for time to file pretrial motions,
filing no. 24, joined by co-defendant Burkhart, is granted. The
deadline for both defendants to file pretrial motions is extended
to December 1, 2008.

     DATED this 17th day of November, 2008.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
